Case 1:20-cv-01410-UNA Document1 Filed 05/26/20 Page 1 of 11

TN THE UNITED STATES DistRlcT CoueT _
Fok tHe DistRict_oF COLUMBIA

 

 

 

PAUL HANSMEIER
209K S-O4l (Clait K3
Federal srrechonal “Tasttuhen

 

 

 

 

 

 

 

P. 0, Box \dod.
Sasdstore, MN_55 OF2 ; Case: 1:20-cv-01410 —
Assigned To : Unassigned
Assign. Date : 5/26/2020 —
Pi, Lite, | Description: PRO SE GEN CIV (F-DECK) |
Complaint FoR DECLARATORY
Va AND iINJUNCTIVE RELIEF

 

 

\MILLIAM FP BARR, in his official
capacity as Attorney General of He,
United Strtes_o: ica,
950 Pennsylvania Avenue, NW
Washington , DC 205 30;

 

 

 

 

Defendant,

 

 

 

 

 

For his _c omplant aganst Defendant) Platte states and. alleges as fellows:

 

C sachet ln leet blew le_] _

See

 

-\|(-
Case 1:20-cv-01410-UNA Document1 Filed 05/26/20 Page 2 of 11

T. Totrduchons —

 

 

L, Plawinte Faw Hansmeer seeks ta enforce Copyrights via the methed used by the
anh inn Photo Con, 23 F.3d 1345 (rth Cir. i9%4).

 

 

2. Hansmerer cannot do $0, howevee, Without fing cil ci of inal —

Prosecuhon, ee —_

 

 

3, Tw this _acton fe dedi ant impenctie lef Herne expt —
Tequests that the Court enjoin Defendant fre £00 m_pursting Hansmeer an those assisting —
hu fie fond ae-etertun for enfring cpyrahs vil He Olan fly meth. "y

 

i—_

 

            

4, Plaintiff Paul Hensmeler is a citizen of the United States
at the Sané dstone FC\_in Sandstone 1 Minnesota. Hansmever requests that thir cat la at be
nftended’ he (bere “eoveseuchon suas ‘te Capi Md by ae m_Se_privonerss |

 

 

 

 

 

5. Defendant \uadllian ?. Bare is the Attocray General. of the United States
ant 133 sued _in_his official capactty. The Atte tochey General aversees _ the enforcement of
federal crimunral statutes. As the fread of the Depactment of Justice, he “Supervises its
officers and employees.

 

 

WW, Turisdictin and Venue.

 

 

 

 

6, This, achon arses under the LS. Conetobahion, y-including the pettering ands Pak
clauses of the Frest Amendment and the Due Process clause of the Fifth Amendment:

 

-2)-
Case 1:20-cv-01410-UNA Document1 Filed 05/26/20 Page 3 of 11

 

A, This Court has subject_matter jurisdichon_pursueat to 28 5,6, © 1331,
This Court tay aivacd Hansmeer daclicatery and injunchve Peliet pursuant to k2
Declaoaks ment Act, 28 Us. 86 22ci- G2, and this Court's inherent 7
equitable jucssdichons

 

 

 

 

 

X. Venue is proper in te U.S, District Couct for the Distnet of Columbia
pursuant to OP U.S. C.§ (tie). Deferdant, who is sued In his official capacctyy
resides in this judiclal distnet, this _action challenges the constrtutioualty of & Stadwhe_
teach opplies_in this adiciel. district

 

 

 

IV, FACTS,

 

4. Hans ~— Sacks to enforce copyrights via the Olan Mills nethed, He wills

 

(a.\ retain an iweshigator ta_make his copyrighted works ausilable to. suspecte d
infiiagers via Noforions diyitel pinscy websites _——

 

 

(b) file a Complaint in the ferm ef Exhibit A hereto against users whe copy the
work frm the muestigator’ Co puter jane

 

 

 

(0) oHempt 4a settle the clains or, if neccenary and appropriste, pursue 4
fidg inant ogainst +he unfringers.

 

 

 

10s Hansmeier faces 0 cred, ble risk ot couninal prosecution if he_entorces
Capyrrglts via the Clan Mills jrethed.

 

 

 

 

 
Case 1:20-cv-01410-UNA Document1 Filed 05/26/20 Page 4 of 11

 

 

th. Ta lote- 2016, Defendant charged Hans merer with mail and wire find
Kased on alleqhons that Hansmeee used the Qlad Mills meted + enforce copyes N ut
at concecled his use of the Olan Mills methed and his invaluement ia the copyright

Crfacce wnt actors:

 

 

 

ia, Tn additisn, Defendant alleged that celated claims that Hansimerer braught
-pursuont to the Computer Fraud and Abuse Act (“CAS”) were “entively, muented” claims —

Gf hocking inks computers tyrat did ack exist,

 

|3. The allegations un _the indietmend Are publicly available an the dackat oF
Hansmmeiar's ctimfival Coxe ; udich can be ened at (6=cr- 35354 (D, Minnd,

 

____lH» Hansneier’s chollenge +0 the leqal sufficiency cy of the ndictnent_js_penditg hefore
He US. Core of Appeals for the Eighth Cirenit. Tn his appellate Caspase
bref, Defendant itieated his position that Hansmeiers use of the Olan Mills
srethod 4p enforee_copyrights alsa. Constedutes extortion. [Defend Is |

sie? is publily auailable-at United Stites v. Hansneiee , No (1-a386 (814 Cin)

 

IB. Ta his aivheipated Cases, Hansimover ull proachualy address Many OF
Dedendart's allegations of wrongdoing. Specifically, as the form af complanit
sacked hereto os Exvbit A demonstrates, in his awheipated cases Honsmeer wall be
‘Thea | plasty and the complauts will detail Hansmeer'’s use of the Olan Milly —
Copyright eroncement Methed. _

 

 

6. As for Harsmeiee's CFAA cleim, Hansiteee’ complaints will be accanpened
toy en excerpt of He computer leg hich forme the hesis for Hansmeier's CFAA claw

 

 

 

-He
Case 1:20-cv-01410-UNA Document1 Filed 05/26/20 Page 5 of 11

(F, These Lente at Herameark form _of Complaint will elimmate any basis for
Detendent te clatin that Hansmaer is conceal ing his _invelvenient with the Cases Or his_use of __
he Olan Mills copyright enficcenast method or that Harsweier’s CAA clam is based on

A\ieqatress_of trespass ont Computers that do not exist

AR. Hansineier'’s ashicipeled cases will net completely elininete DefendaatS peeblens
with Hansineter's copyright enforcement methods, Critically, Hensmeer’s Cases will Contnwe to
nvalve_the use of the Olan Mills, copyright enforce me wt method, :

 

 

 

 

 

IA, Roceuse his anticipated cases will involve the Olan Mills Copymaht
enforcement meted, Hansineler faces a credible cisk of criminal prosecut
extochen it connection wth bringing is Copynght enforcement cases,

 

 

DO, Hansinerer’s Bost tion _in this case_is that the Constitution does pot permit
Defendant to use the fad and actorun stetutes to_chill Hansmeier's anticipated class.
Readier, i Deferdat diseppraves of Hansiteier's anticipated clans, then he is ent ed tp seek
Court permssion to itervene iA Hansmercr's Cases to preset the United States! interests —

whatever they may be i

 

 

 

 

 

— Ale Tn_suintnares ; then; — Hansmeien seeks to bring claws for copyr ght _infirngenent
ond violations of the CEAA.

 

 

 

22, Hansineter har previeusly been prosecuted fir bringing such claus under :
Comparable circumstances.

 

 

 

 

23. Hansmeiee camot bring his chains without facing a cradible risk of

-ceiainl_prssaeste feel frud|_uate frane_tal echarat —

 

 
Case 1:20-cv-01410-UNA Document1 Filed 05/26/20 Page 6 of 11

 

 

att. Hansmneier Cannot retain of _Codsult wid legal aduisors_ahout his anticipated
claims wwitheut facing «credible risk of crimisal prosecution

 

 

____25._Haansinetsr cannot petain or consult wth investigatars abact his anticipated _
Chains without facing 0 credible pisk of criminal prosecatn. :

 

 

26, Hansmeier connec communicate wit deferdants or attempt te tle Mis _cles
for copyright nfhtgerant and vidlehors of He CPAA withad facing a CCedlblecish aft

Ceumunal_prosecuhoa

 

 

CLAIMS FoR RELIEF

 

VV FIRST _CAdse OF ACTION - RIGHT TO PETITION (As APPLIED)

 

 

lt, Hansmater re silleges and incerfontes by reference all allegations set fick
above, ,

 

 

2k, The Petition Clause of the Fist Amendment provides that “Congress shall make
1s Te_albilyg Hecht ofthe pple + fe petion He Goerane fur a tedress

: f
of nr t ' (A, S. Ceast,, finan. —

 

 

 

a, Defadat's appleshon of He mail oud, ivire franc and extortion shetutes
4 Hansiec's aahcpated capyriitenficoneat claws (He “Clains"") inpecaiaribly — a
“interferes with and pcohibity the speech necessary to access the Courts in_onden to. erfore
rials granted by + he Copyright Act (IF U.S.C. § 16 et sep.) and He Computer fi J

 

 

Lig Uc, SF (34t, {343 and (M51, pespectively.
en
Case 1:20-cv-01410-UNA Document1 Filed 05/26/20 Page 7 of 11

 

 

and Abuse Act (ig Wisc, é 1030),

 

 

30, Detendant: S_applicahen of the mail Freud, wire fad and tern tte
the Claws is not jstrfed by. a_leqitimate ; compelling , or overriding government interests

 

 

ZL. Deferdant's sppheaton of He pail fraud, wire fraud and_extortion stitutes to the —

Clams is_ndt_nanrouly terlered fo_acheve such legttimate, compelling ov overriding Gor governmeat
Wheres » .

 

 

32, Defend ait!s appli \cahon of the nail fraud) snie fimud and extechen_ stetutes to
the Clasms “Violakes the Petition Clause of the First Amencne nt,

 

 

33, Defendant's yiolation Cousses_atgo: -and_tnre parable haem to Hassmect whe
has no adequate remedy at law. Absent immed tate _ in. A| urctive relef, Hansimecr will c -contnae
tp_surFter_eteparible harm, .

 

 

 

Vi. SECOND CAuse OF ACTION- FREEDOM OF srecct (As APPLIED)

 

1, Hansmever fe-alleqes and incorpenctes by reficence all alleqaius set forth above.

 

 

35, The Free Speech es of the Fict Aaient ee US Cott
povides "Congtea shall make ta laa 2 io law aloeid ae ug the freodam of 5, Ku

 

 

 

 

 

 

36, Defendant's application ¢ of the mal (frend, wine frend) nal actectian. le Ht

the Clarins _p Ce. ants speech ard expresswe achury Necessary bs Consult — Wwith_inues a
and lege counsel, and to settla Clos.

 

 

-J=
Case 1:20-cv-01410-UNA Document1 Filed 05/26/20 Page 8 of 11

 

St ; Defendant's application of the _mail franc | wire 4 frauel_and_extorton statutes to___
He Chasis Net narrowly tailored to any lenitimete, Compelling or avecrdiag governnoat —

wheres?

 

 

36, Defendant's applicahon of He tail fraud, uvice fraud_and extortion stahehes —
fo the Claims is not narroudy tailored to acheve any such legitimate, Compelling or _.
Guerrding government tterest 5

 

 

34, Defondant's apphcchan of Ke mail fraud wire aud and extortion stacutes fa
the Class viclates the Speech Clanae of the Piest Amendment,

 

 

 

40, Defendants yioletion Causes ongoing and tcreperble haem to Hatsineery whe
has no adequate remedy at low. Absent immediate injanchve relict, Hansimever wall contaue—
Th_Suffer_itrepamble AW. :

 

 

 

 

VAL, HIRO CAusE OF ACTIoN ~ Voi FoR VAGUENESS (As APPLIEO)

 

Yi. Hans never re-alleqes and incorporates by reference all allegetons set forth

dhove:

 

 

 

UW. The Que Process Clause of He Fh Amendment to the US Cosstebatan
pros le Har “he person shall sss be deprived of life, liberty or property iyithout due
-prrcess_of (eu, :

 

 

an U3, The mail fraud, wire fraud and extortion shatutes, os epplied to the Claus,
Oce_Uncoaslitubonally vauge_as_they - ‘fo deGne & crmuaal offense ina panser definite

ia a. iii lindas seta fc ibiteds

 
Case 1:20-cv-01410-UNA Document1 Filed 05/26/20 Page 9 of 11

 

 

UL “The Vag tie ness of the mail fraud, wre fred | and extartion shatubos , as applied to
tho Cinlas, chils and deters speech, expressive ond petit activity protected by the First
Amondmrent,

 

 

AB, The mail fraud, wire fad and extortion statutes violate the Due Process Clause
of the Fefth Arend met as applied to Hansies ers Clams,

 

 

4 6, Defendant's vial ator causes ongoing -and_istepecable hacm to Hansmerer, whe hos
no odequate comedy at (as. Absent immediate inyunchve relief) Hansmeierwuill continue fr
sakFer irreparable hari ! :

 

 

Vill. FOURTH CAUSE OF ATION — SEPARATION OF POWERS (AS APPLIED)

 

TR Flansinee ce-alleses and incorporates by fefenance all allegatons. set forth

Gooyo ‘

 

 

 

NY, Poetcels I Sechen 1 of the U3. Conshtution | an vests the legislative
power in Congeass. The legaletive power in the power ta make the loun Congress ecreied
Hhos_power by Creating the Copyright Act end the CFAA,

 

 

14 Arte lo (lL Section 7 of the US, Co asfitution Vests the dicial power
an the Supreme Court and the lower courts created by Cong cess The_jue reral pat ts
he power te say whet He low is, The judiciacy har enencised thin Powe by interpret the
Copyngit Act and the CEAA,

 

 

 

, Achele Lt Yechin 0 of He US, Coastebes vests Cong cess with the power “to

-prsnote then teil Arte" Congo has evarned) this pour creat rg The :
Case 1:20-cv-01410-UNA Document1 Filed 05/26/20 Page 10 of 11

 

 

 

Bi Defendont it usitg the ail frud, wire fimudl and extochon. statutes tempore (thee -
‘actual _and threctened_p: msecution of Hansmeier ) taba eggrament Fo cpa gene
and CRASS clues that care wat hosicl sw the tees if | he statutes on judicial interpretations
thereef,

 

 

BD, Defendant's use oF the mail rund, wine fimud and extortion statutes in ths manner

Whee, sltutenlly inftules_upenCongess!_pauers te tals the law and pronete the useful —
arts and the judiciacy's power to iMerpret +e (ny, m 2

53. Deferdant!s violation couses- orig and ierepansble harm te Hersmerer, who-has
no adequate remedy ot low. Absent impedicde injanchve celief, Hansmeer will confine to
suftec_icrepamble harm.

 

 

 

 

 

 

PRAYER FoR “RELICE

 

 

Hansineer respectfully requests a jada Ment!

 

A » Declaring th Nat the pro Freud , wire Fraud aad: ectortion otetates) at applied te — Hansmnewer's—
anticipated copyright enforcement litigation, violates

 

 

a the Petition Clause of the First Amoudasent to +he U.S, Co astitichon }

__b. the Free Spoech Clause of the Fiest Amend ment to tHe US. Corstuuhion }

—_C. the Due Pracess Clause of the Fifth Amondaant te the US. Consfituchan j aad
__d, the trolance of powers created by He U.S. Consthdadian,

 

 

 

 

-([D-
Case 1:20-cv-01410-UNA Document1 Filed 05/26/20 Page 11 of 11

 

 

 

Qi Pocmeanently Loins the Defendant Attorney Goneral; as well as his officers agents,
employees attorneys. | other persons in achue Concert 6r pacticipehon With him, from

Ransineiec_or_any cae pssirting him m his copes gh enforcement [ Ufiqachon,

 

 

3. Awacding Hassneier's attorneys! fees and costs undor the Equal Access fo Justice Act, 26
(S.C, 8 242,

4. Aumeding such other and further relief as this Court deems jest and proper

Ly»
(Sacked! (e555 >

Paul Hansmeter

Reg. Nw. 20453-c4l Unit K3

Fedencl Corpoctiunal Trsttwho,
PO, Bex load

Sands tare, MN S5072.

 

 

 

 

 

 

 

 

 

 

 

 

 

 
